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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 ELITE CASINO EVENTS, LLC,                         )
                                                   )
                         Plaintiff,                )      Civil Action No. 2:23-cv-01281-LPL
        v.                                         )
                                                   )
 ELITE CASINO EVENTS, LLC,                         )
                                                   )
                         Defendant.                )

                                      ORDER OF COURT

       AND NOW, to wit, this _____ day of October, 2023, upon consideration of Elite Casino

Events LLC’s Motion for Alternative Service of Process Upon Defendant, Elite Casino Events

LLC, it is hereby ORDERED, ADJUDGED AND DECREED, that said Motion is hereby

GRANTED. Service is permitted beyond the original 90-day period for an additional 30 days.

       Plaintiff may affect service upon Defendant Elite Casino Events LLC via at least one of

the following:

       1.        Defendant’s business email (Info@EliteCasinoEvent.com);

       2.        Regular mail to:

                 Elite Casino Events, LLC              Elite Casino Events, LLC
                 1001 Altamesa Blvd.                   2205 North Henderson Avenue
                 Fort Worth, TX 76134                  Dallas, TX 75206;

                        and/or

       3.        Posting at the home address of Elaine Davidson, the CEO of Defendant:

                 1913 Windmill Hill Lane
                 Desoto, TX 75115

                                             BY THE COURT:


                                                                                         J.
